






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00675-CR







Darrell Glenn Geyer, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT


NO. 005294, HONORABLE MICHAEL LYNCH, JUDGE PRESIDING







Appellant's motion to dismiss this appeal is granted.  See Tex. R. App. P. 42.2(a). 
The appeal is dismissed.



				__________________________________________

				Mack Kidd, Justice

Before Justices Kidd, Yeakel and Patterson

Dismissed on Appellant's Motion

Filed:   December 6, 2001

Do Not Publish


